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 1                                                                            Honorable John H. Chun

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
     STEVEN GNASSI,                                        No. 3:20-cv-06095-JHC
 9
                              Plaintiff,                   PRETRIAL ORDER
10
                      v.
11
     CARLOS DEL TORO, SECRETARY OF THE
12   NAVY,

13                            Defendant.

14

15           Plaintiff Steven Gnassi and Defendant Carlos Del Toro, Secretary of the Navy, submit

16   the following Proposed Pretrial Order pursuant to LCR 16(e).

17

18                                         I.         JURISDICTION

19           The Court has original jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§ 1331

20   and 1343(a).

21

22                                              II.     CLAIMS

23           Plaintiff will pursue the following claim at trial:

24           1.       Age Discrimination under the Age Discrimination in Employment Act, 29 U.S.C.

25   § 621, et seq.

26
27

     PRETRIAL ORDER - 1                                                      MACDONALD HOAGUE & BAYLESS
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 1           Defendant will pursue the following defenses:

 2           1.        All actions taken by Defendant with respect to Plaintiff were based on legitimate,

 3   nondiscriminatory reasons and were taken in a fair, reasonable, and lawful manner under the

 4   existing circumstances.

 5           2.        Defendant’s actions were a just and proper exercise of management discretion,

 6   undertaken for fair and honest reasons in good faith under the existing circumstances.

 7           3.        Age was not a but-for cause or motivating factor in connection with any action or

 8   treatment taken by Defendant.

 9           4.        Plaintiff has no damages and has failed to mitigate his damages, if any.

10

11                                          III. ADMITTED FACTS

12           The parties set forth the following as admitted facts:

13           1.        Plaintiff applied for a sheet metal apprenticeship position in Shop 17 in 2019.

14           2.        Plaintiff applied for an electroplater apprenticeship position in Shop 31 in 2019.

15           3.        Plaintiff was over 40 years old when he applied for these positions.

16           4.        For the sheet metal position in Shop 17, Kent Burton, Mark Malley, and Darrell

17   Schneider interviewed Plaintiff.

18           5.        For the electroplater position in Shop 31, Mark Candaso, Tyler Jenkins, and

19   William Bury interviewed Plaintiff. Mr. Bury has since passed away.

20           6.        Plaintiff was not selected for either position.

21

22                                              IV. ISSUES OF LAW

23           Plaintiff proposes that the following issues of law will be presented at trial:

24           1.        Whether to enjoin Defendant’s illegal hiring practices.

25           2.        Whether it is proper to draw an adverse inverse from Defendant’s spoliation of its

26   hiring records.

27

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 1          Defendant contends that the following issues of law will be presented at trial:

 2          1.      Whether Plaintiff can establish each element of a prima facie case of failure-to-

 3   hire because of discrimination, which are: (a) he is a member of a protected class (here, age); (b)

 4   he was qualified for the positions; (c) he was rejected for the position, despite his qualifications;

 5   and (d) the position remained open and other similarly qualified individuals who were not

 6   members of the protected class were hired.

 7          2.      Whether Plaintiff can establish that the legitimate, non-discriminatory reasons

 8   provided by Defendant were a pretext for discrimination.

 9          Defendant objects to Plaintiff’s issue of law as follows:

10          1.      Whether to enjoin Defendant’s allegedly illegal hiring practice is not properly

11   before the Court. Plaintiff has not brought a pattern and practice claim, and he has stipulated that

12   he is not bringing a disparate impact claim. Plaintiff may seek monetary relief for the issues

13   remaining in this matter.

14

15                                        V. EXPERT WITNESSES

16      Plaintiff will call the following expert witness to testify:

17          1.      Paul Torelli, Ph.D.
18                  2600 2nd Ave, Seattle, WA 98121
                    (206) 384-7072
19
        He is expected to testify about Plaintiff’s lost wages.
20

21
        Defendant will call the following expert witness to testify:
22         1.     Erick C. West, M.A.
                  10220 N. Nevada St., Suite 110
23                Spokane, WA 99218
                  (509) 747-5850
24
            Mr. West is expected to testify about Dr. Paul Torelli’s expert report and testimony, and
25
     Plaintiff’s alleged damages.
26
27

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 1                                         VI. OTHER WITNESSES

 2   A.     Plaintiff’s Lay Witnesses – Will Testify
 3
            Plaintiff will call the following lay witnesses to testify:
 4
            1.      Steven Gnassi
 5
                    C/o Plaintiff’s Counsel
 6
            He is expected to testify about all aspects of the facts of his claims and damages, his
 7
     employment, and Navy policies and practices.
 8

 9          2.      Defendant is expected to testify through its FRCP 30(b)(6) designees on the topics

10   for which Defendant designated them:

11               • Jeff McGloin
                 • Carmon Hoff
12
                 • Michael Murray
13               C/o Defense Counsel

14          3.      Lisa Ames
                    C/o Defense Counsel
15

16          She is expected to testify about the policies and practices of the Navy Shipyard’s

17   apprenticeship program.

18          4.      Justin Richardson
                    C/o Defense Counsel
19
20          He is expected to testify about the policies and practices of the Navy Shipyard’s

21   apprenticeship program, and the selections of the positions to which Plaintiff applied.

22          5.      Tyler Jenkins
                    C/o Defense Counsel
23

24          He is expected to testify about the policies and practices of the Navy Shipyard’s

25   apprenticeship program, and the selections of the positions to which Plaintiff applied.

26          6.      Kent Burton
                    C/o Defense Counsel
27

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 1          He is expected to testify about the policies and practices of the Navy Shipyard’s
 2   apprenticeship program, and the selections of the positions to which Plaintiff applied.
 3
            7.       Mark Candoso
 4                   C/o Defense Counsel

 5          He is expected to testify about the policies and practices of the Navy Shipyard’s
 6   apprenticeship program, and the selections of the positions to which Plaintiff applied.
 7
            Plaintiff’s Lay Witnesses – May Testify
 8

 9          9.       Defendant may be called to testify through its FRCP 30(b)(6) designees listed

10   below on the topics for which Defendant designated them:
11
                  • James Jones
12                • Randy Parks
                  • Tim Niemi
13                • John Galbraith
                  • Andrew Erdman
14
                  • Thomas Slater
15                • Lisa Kruzan
                  • Seth Frazier
16                • Alex Hubbeling
17                • Al Schott
                  • Randy Parks
18                • Scot McKee
                  • Jana Rider
19                C/o Defense Counsel
20
            10.      Mark Malley
21                   C/o Defense Counsel

22          He may be called to testify about the policies and practices of the Navy Shipyard’s
23   apprenticeship program, and the selections of the positions to which Plaintiff applied.
24
            11.      Darrell Schneider
25                   C/o Defense Counsel

26          He may be called to testify about the policies and practices of the Navy Shipyard’s
27   apprenticeship program, and the selections of the positions to which Plaintiff applied.

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 1           12.     Joshua Ferguson
                     C/o Defense Counsel
 2

 3           He may be called to testify about the policies and practices of the Navy Shipyard’s

 4   apprenticeship program, and the selections of the positions to which Plaintiff applied.

 5           13.     Cristy Caldwell
                     C/o Plaintiff’s Counsel
 6

 7           She may be called to testify about the tabulation of average age and test score
 8   information.
 9
             14.     Any additional lay witnesses needed to authenticate documents.
10

11   B. Defendant’s Lay Witnesses – Will Testify:

12           1.      Jeff McGloin

13           Mr. McGloin is expected to testify at least about the Puget Sound Naval Shipyard’s

14   apprenticeship program generally.

15           2.      Lisa Ames

16           Ms. Ames is expected to testify at least about administrative issues in this matter,

17   including how candidates apply for apprenticeships.

18           3.      Justin Richardson

19           Mr. Richardson is expected to testify at least about the policies regarding the Shop 31

20   apprenticeship program, including the hiring and overtime assignment processes.

21           4.      Mark Candaso

22           5.      Tyler Jenkins

23           These witnesses are expected to testify at least about interviewing Plaintiff for the

24   electroplater position (Shop 31) and the legitimate, non-discriminatory reasons for not hiring

25   Plaintiff for that position, as well as general information about the position, process, etc. They

26   may also testify about their Shop more generally and the availability and assignment of overtime

27   within Shop 31, specifically for those working as electroplaters.


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 1           6.      Kent Burton

 2           7.      Mark Malley

 3           8.      Darrell Schneider

 4           These witnesses are expected to testify at least about interviewing Plaintiff for the sheet

 5   metal mechanic position (Shop 17) and the legitimate, non-discriminatory reasons for not hiring

 6   Plaintiff for that position, as well as general information about the position, hiring process, etc.

 7   They may also testify about their Shop more generally and the availability and assignment of

 8   overtime within Shop 17, specifically for those working as sheet metal mechanics.

 9           9.      Carmen Hoff

10           Ms. Hoff is expected to testify at about regarding her administrative role and interactions

11   with the Plaintiff while he was a member of Shop 75, including his former job responsibilities,

12   performance, abilities, and overtime history.

13           Defendant’s Lay Witnesses – May Testify

14           10.     Joshua Ferguson

15           11.     Erin Johnson

16           12.     Cassandra Pruitt

17           These witnesses may testify regarding the Shop 17 and Shop 31 positions for which

18   Plaintiff interviewed in general, including the salary of those positions and overtime work related

19   to those positions, as well as other issues related to Plaintiff’s claim for damages.

20           13.     Michael Murray

21           Mr. Murray may testify regarding his supervisory role over the Plaintiff, including his

22   former and current job responsibilities, performance, abilities, and overtime history.

23           14.     Other witnesses listed in Plaintiff’s pretrial statement whose testimony would be

24   relevant to the claims or defenses in this case.

25           15.     Any other witnesses needed to authenticate documents.

26
27

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 1                               VII.   PLAINTIFF’S TRIAL EXHIBITS

 2
      EX.         Description      Authenticity    Admissibility     Objection          Admitted
 3    NO.
       1.     Apprentice job      Stipulated      Disputed          401; 403.
 4
              posting 2018 &                                        No objection
 5            2019                                                  to pages 14-
                                                                    21.
 6
       2.     Apprentice Job      Stipulated      Disputed          401; 403.
 7            Descriptions                                          No objection
                                                                    to
 8                                                                  description
                                                                    for
 9
                                                                    electroplater
10                                                                  position.
       3.     PSNS & IMF          Stipulated      Stipulated
11
              Apprenticeship
12            Participant’s
              Agreement 2020
13
       4.     Collective          Stipulated      Stipulated
14            Bargaining
              Agreement
15
       5.     Merit systems       Disputed        Disputed          401; 901 (no
16            principles                                            witness to
                                                                    authenticate)
17
       6.     Merit systems       Disputed        Disputed          401; 901 (no
18            principles                                            witness to
              webpage                                               authenticate)
19
       7.     PSNS Press          Disputed        Disputed          401; 901 (no
20            Release                                               witness to
                                                                    authenticate)
21
              Shop 31 Org chart Stipulated        Stipulated
22     8.     Gnassi Resume       Stipulated      Stipulated
23     9.     “Employee           Stipulated      Stipulated
              Summary” for
24            Steven Gnassi
25     10.    Gnassi personnel    Stipulated      Stipulated
              file documents
26
       11.    Gnassi LinkedIn     Disputed        Disputed         401; 802.
27            profile

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 1    EX.         Description     Authenticity    Admissibility     Objection          Admitted
 2    NO.
       12.    Certificate of     Stipulated      Stipulated
 3
              eligible
 4            candidates
       13.    Qualified          Stipulated      Stipulated
 5
              candidate
 6            spreadsheet with
              test scores
 7            (Method 1)

 8     14.    Ames email April   Stipulated      Stipulated
              16, 2019
 9     15.    April 19, 2019     Stipulated      Disputed         401; 403.
10            email from Kent
              Burton regarding
11            Shop 17
              candidates with
12            attached
              spreadsheet
13
       16.    April 19, 2019     Stipulated      Stipulated
14            email regarding
              Shop 75 interview
15
              selections and
16            attached notes and
              candidate
17            information

18     17.    April 19, 2019     Stipulated      Stipulated
              email regarding
19            Shop 75 interview
              selections, and
20            attached candidate
              spreadsheets
21
       18.    Email string dated Stipulated      Stipulated
22            April 22, 2019
23     19.    Richardson email   Stipulated      Stipulated
              May 29, 2019
24
       20.    Candidate resume   Disputed        Disputed         401; 403; 602;
25                                                                802; 901.
                                                                  Name is
26                                                                redacted. No
                                                                  objection to
27
                                                                  resumes for

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 1    EX.         Description      Authenticity    Admissibility      Objection         Admitted
 2    NO.
                                                                   individuals
 3                                                                 selected for
                                                                   either
 4
                                                                   electroplater or
 5                                                                 sheet metal
                                                                   mechanic
 6                                                                 position.
 7     21.    Candidate resume    Disputed        Disputed         (Same as 20)
                                                                   401; 403; 602;
 8                                                                 802; 901.
 9     22.    Candidate resume    Disputed        Disputed         (Same as 20)
                                                                   401; 403; 602;
10
                                                                   802; 901.
11     23.    Candidate resume    Disputed        Disputed         (Same as 20)
12                                                                 401; 403; 602;
                                                                   802; 901.
13     24.    Questionnaires      Disputed        Disputed         (Same as 20)
14            and candidate                                        401; 403; 602;
              resumes                                              802; 901.
15
       25.    Shop 31 helper      Stipulated      Disputed         401; 403.
16            interview
              questions
17
       26.    Shop 31             Stipulated      Disputed         401; 403.
18            machinist
              apprenticeship
19            questionnaire
20     27.    Candidate           Stipulated      Disputed         401; 403. No
              spreadsheet                                          objection to
21                                                                 first page.
                                                                   Remainder
22                                                                 appears
23                                                                 duplicative.
       28.    Candidate           Stipulated      Stipulated
24            interview
25            schedule
       29.    Interview           Stipulated      Stipulated
26            schedule and list
27            of questions


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 1    EX.         Description       Authenticity    Admissibility      Objection         Admitted
 2    NO.
       30.    Interview            Stipulated      Disputed         401; 403.
 3
              questions
 4     31.    Blank interview      Stipulated      Disputed         401; 403.
              form
 5
       32.    Blank interview      Stipulated      Disputed         401; 403.
 6            form
 7     33.    Completed helper     Stipulated      Disputed         401; 403.
              form
 8
       34.    Interview            Stipulated      Stipulated
 9            questions
       35.    July 23, 2019        Stipulated      Stipulated
10
              Kent Burton
11            email re: MIC
              process
12
       36.    List of hires by     Stipulated      Stipulated
13            shop
       37.    Qualified and        Stipulated      Stipulated
14
              selected candidate
15            spreadsheet
       38.    Candidate            Stipulated      Stipulated
16
              spreadsheet
17     39.    J Crawford           Disputed        Disputed         401; 403; 602;
18            Resume                                                902; 901.
                                                                    Individual not
19                                                                  selected for
                                                                    either
20                                                                  electroplater or
                                                                    Shop 17 sheet
21                                                                  metal
22                                                                  mechanic
                                                                    position.
23     40.    I Mauvais            Disputed        Disputed         401; 403; 602;
24            Resume                                                902; 901.
                                                                    Individual not
25                                                                  selected for
                                                                    either
26                                                                  electroplater or
                                                                    Shop 17 sheet
27                                                                  metal

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 1    EX.         Description     Authenticity    Admissibility     Objection          Admitted
 2    NO.
                                                                  mechanic
 3                                                                position.
 4     41.    F Hops Resume      Stipulated      Stipulated

 5     42.    Candidate resume   Disputed        Disputed         (Same as 20)
              (name redacted)                                     401; 403; 602;
 6                                                                802; 901.
 7     43.    Candidate resume   Disputed        Disputed         (Same as 20)
              (name redacted)                                     401; 403; 602;
 8                                                                802; 901.
 9     44.    Gnassi Resume      Stipulated      Stipulated
       45.    Candidate resume   Disputed        Disputed         (Same as 20)
10
                                                                  401; 403; 602;
11                                                                802; 901.
       46.    Candidate resume   Disputed        Disputed         (Same as 20)
12
                                                                  401; 403; 602;
13                                                                802; 901.
       47.    Candidate resume   Disputed        Disputed         (Same as 20)
14
                                                                  401; 403; 602;
15                                                                802; 901.
       48.    Candidate resume   Disputed        Disputed         (Same as 20)
16
                                                                  401; 403; 602;
17                                                                802; 901.
       49.    Apprentice hire    Stipulated      Disputed         401; 403.
18
              spreadsheet
19     50.    Candidate          Stipulated      Disputed         401; 403.
20            Spreadsheet
       51.    May 31, 2019       Stipulated      Disputed         401; 403.
21            email regarding
22            Shop 31 MIC
              process
23     52.    Qualified          Stipulated      Stipulated
24            candidate
              spreadsheet with
25            test scores
              (Method 2)
26
       53.    June 7, 2019       Stipulated      Stipulated
27            email from Kent

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 1    EX.         Description      Authenticity    Admissibility   Objection         Admitted
 2    NO.
              Burton regarding
 3            MIC Shop 17
              process
 4
       54.    June 11, 2019       Stipulated      Stipulated
 5            email from Kent
              Burton regarding
 6
              Shop 17 openings
 7     55.    Peter Breach        Stipulated      Stipulated
              email June 6,
 8
              2019
 9     56.    Lisa Ames email     Stipulated      Stipulated
              June 11, 2019
10
       57.    Peter Breach        Stipulated      Stipulated
11            email June 20,
              2019
12
       58.    Peter Breach        Stipulated      Stipulated
13            email June 23,
              2019
14
       59.    Lisa Ames email,    Stipulated      Stipulated
15            July 23, 2019
16     60.    Email string July   Stipulated      Stipulated
              29, 2019
17
       61.    Peter Breach        Stipulated      Stipulated
18            email August 6,
              2019
19
       62.    Candidate           Stipulated      Stipulated
20            spreadsheet with
              Gnassi’s name
21
       63.    Notice to Gnassi    Stipulated      Stipulated
22            of no hire
       64.    Gnassi “Formal      Stipulated      Stipulated
23
              Complaint of
24            Discrimination”
       65.    Test score          Stipulated      Stipulated
25
              average
26            spreadsheet
       66.    Test score          Stipulated      Stipulated
27
              average

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 1    EX.         Description       Authenticity    Admissibility     Objection          Admitted
 2    NO.
              spreadsheet
 3
       67.    Test score           Stipulated      Stipulated
 4            average
              spreadsheet
 5
       68.    Defendant’s          Stipulated      Stipulated
 6            Responses to
              Plaintiff’s First
 7            Interrogatories
              and Requests for
 8
              Production
 9     69.    Defendant’s          Stipulated      Stipulated
              Responses to
10
              Plaintiff’s Second
11            Interrogatories
              and Requests for
12            Production
13     70.    Defendant’s          Stipulated      Stipulated
              Amended and
14            Supplemental
              Responses to
15            Plaintiff’s Third
              Interrogatories
16
              and Requests for
17            Production
       71.    Letter regarding     Stipulated      Disputed         401; 602; 701;
18
              FRCP 30(b)(6)                                         802.
19            depositions                                           Defendant
                                                                    agrees to offer
20                                                                  stipulation or
                                                                    notice to the
21                                                                  Court
                                                                    regarding Rule
22
                                                                    30(b)(6)
23                                                                  witnesses
                                                                    rather than
24                                                                  substantive
                                                                    evidence.
25
       72.    Notice of FRCP       Stipulated      Disputed         401; 602; 701;
26            30(b)(6)                                              802.
              deposition with                                       Defendant
27            topics                                                agrees to offer

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 1    EX.         Description      Authenticity    Admissibility     Objection          Admitted
 2    NO.
                                                                   stipulation or
 3                                                                 notice to the
                                                                   Court
 4
                                                                   regarding Rule
 5                                                                 30(b)(6)
                                                                   witnesses
 6                                                                 rather than
                                                                   substantive
 7                                                                 evidence.
 8     73.    “Summary of         Disputed        Disputed         401; 602; 701;
              Selected                                             802; 901.
 9            Recordkeeping                                        Interpreting
              Obligations in 29                                    statutes and
10
              C.F.R. Part                                          regulations
11            1602,” from                                          belongs to the
              EEOC.gov/emplo                                       province of the
12            yers/summary-                                        Court.
              selected-
13            recordkeeping-
14            obligations-29-
              cfr-part-1602
15     74.    29 C.F.R. §         Disputed        Disputed         401; 602; 701;
16            1602.14                                              802; 901.
              (Preservation of                                     Interpreting
17            Records)                                             statutes and
                                                                   regulations
18                                                                 belongs to the
                                                                   province of the
19                                                                 Court.
20     75.    ACCUPLACER          Disputed        Disputed         401; 602; 802;
              Concordance                                          901.
21            Tables
22     76.    January 2020        Stipulated      Disputed         401; 602.
              Email exchange
23            with Sharriff
24            Thomas and
              Heather Cottier
25     77.    Online application Stipulated       Stipulated
26            form -completed

27

     PRETRIAL ORDER - 15                                               MACDONALD HOAGUE & BAYLESS
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 1                                 VIII. DEFENDANT’S TRIAL EXHIBITS

 2           Defendant may offer the following exhibits at trial, in addition to any exhibits identified

 3   by Plaintiff:

 4

 5   EX.             Description       Authenticity Admissibility           Objection           Admitted
     NO.
 6
     500     Ames Apprentice           Stipulated      Stipulated
 7           2019 Selections
 8
     501     Ames Apprentice           Stipulated      Stipulated
 9           MIC Applicants
             (2019)
10
     502     Ames Apprentice           Stipulated      Stipulated
11           CERT Qualified
             Applicants (2019)
12

13   503     A Braun resume            Stipulated      Stipulated
             (Shop 17)
14
     504     T DeJesus resume          Stipulated      Stipulated
15           (Shop 17)
16   505     J Fair resume (Shop       Stipulated      Stipulated
             17)
17

18   506     N Roberts (Shop 17)       Stipulated      Stipulated

19   507     S Gorton (Shop 17)        Stipulated      Stipulated

20   508     J Paylor (Shop 31)        Stipulated      Stipulated

21   509     S Barr resume (Shop       Stipulated      Stipulated
             31)
22
     510     D Hendricks resume        Stipulated      Stipulated
23
             (Shop 31)
24
     511     Gnassi Master Pay         Stipulated      Disputed        Privacy under Fed.
25           History and Payroll                                       R. Civ. P. 5.2. If
             files                                                     SSN, DOB
26                                                                     redacted
27

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 1
     EX.           Description     Authenticity Admissibility        Objection           Admitted
 2   NO.

 3   512     Gnassi SF-50 forms    Stipulated   Disputed        Privacy under Fed.
                                                                R. Civ. P. 5.2. If
 4                                                              SSN, DOB
                                                                redacted
 5

 6   513     WT and WG Pay         Stipulated   Stipulated
             Tables
 7
     514     Gnassi DOL records    Stipulated   Disputed        Irrelevant (FRE
 8                                                              402); waste of time,
                                                                confusing,
 9                                                              prejudicial (FRE
10                                                              403); hearsay (FRE
                                                                802); requires
11                                                              specialized
                                                                knowledge (FRE
12                                                              702)
13   515     Gnassi résumé         Stipulated   Stipulated
14
     516     Gnassi résumé,        Stipulated   Stipulated
15           second version

16   517     Statement of          Stipulated   Disputed        Irrelevant (FRE
             Certification                                      402); waste of time,
17                                                              confusing,
                                                                prejudicial (FRE
18                                                              403); hearsay (FRE
19                                                              802); requires
                                                                specialized
20                                                              knowledge (FRE
                                                                702)
21
     518     WG 3501/05 Job        Stipulated   Stipulated
22           Description
23
     519     March 2018 Surgical   Stipulated   Disputed        Irrelevant (FRE
24           Report                                             402); waste of time,
                                                                confusing,
25                                                              prejudicial (FRE
                                                                403); hearsay (FRE
26                                                              802); requires
27                                                              specialized
                                                                knowledge (FRE

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 1
     EX.           Description   Authenticity Admissibility          Objection          Admitted
 2   NO.
                                                              702)
 3

 4   520     Gnassi Orthopedic   Stipulated   Disputed        Irrelevant (FRE
             Records                                          402); waste of time,
 5                                                            confusing,
                                                              prejudicial (FRE
 6                                                            403); hearsay (FRE
                                                              802); requires
 7
                                                              specialized
 8                                                            knowledge (FRE
                                                              702)
 9
     521     May 2018 Letter     Stipulated   Disputed        Irrelevant (FRE
10                                                            402); waste of time,
                                                              confusing,
11
                                                              prejudicial (FRE
12                                                            403); hearsay (FRE
                                                              802); requires
13                                                            specialized
                                                              knowledge (FRE
14                                                            702)
15   522     Work capacity       Stipulated   Disputed        Irrelevant (FRE
16           evaluation                                       402); waste of time,
                                                              confusing,
17                                                            prejudicial (FRE
                                                              403); hearsay (FRE
18                                                            802); requires
                                                              specialized
19
                                                              knowledge (FRE
20                                                            702)

21   523     Work capacity       Stipulated   Disputed        Irrelevant (FRE
             evaluation                                       402); waste of time,
22                                                            confusing,
                                                              prejudicial (FRE
23                                                            403); hearsay (FRE
24                                                            802); requires
                                                              specialized
25                                                            knowledge (FRE
                                                              702)
26
     524     Wage Comparison                                  Irrelevant (FRE
27                                                            402); waste of time,

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 1
     EX.           Description     Authenticity Admissibility        Objection           Admitted
 2   NO.
                                                                confusing (FRE
 3
                                                                403)
 4
     525     Injury Report         Stipulated   Disputed        Irrelevant (FRE
 5                                                              402); waste of time,
                                                                confusing,
 6                                                              prejudicial (FRE
                                                                403); hearsay (FRE
 7
                                                                802); requires
 8                                                              specialized
                                                                knowledge (FRE
 9                                                              702)
10   526     Nursing Evaluation    Stipulated   Disputed        Irrelevant (FRE
             Report                                             402); waste of time,
11
                                                                confusing,
12                                                              prejudicial (FRE
                                                                403); hearsay (FRE
13                                                              802); requires
                                                                specialized
14                                                              knowledge (FRE
                                                                702)
15

16   527     Progress Report       Stipulated   Disputed        Irrelevant (FRE
                                                                402); waste of time,
17                                                              confusing,
                                                                prejudicial (FRE
18                                                              403); hearsay (FRE
                                                                802); requires
19
                                                                specialized
20                                                              knowledge (FRE
                                                                702)
21
     528     2019 Shop 31 Job Fair Stipulated   Stipulated
22           posting
23   529     Questions for New     Stipulated   Stipulated
             Hire Interviews
24

25   530     Gnassi application    Stipulated   Stipulated

26   531     Gnassi email          Stipulated   Stipulated

27   532     Burton email          Stipulated   Stipulated

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 1
     EX.           Description     Authenticity Admissibility        Objection           Admitted
 2   NO.

 3   533     BMTC Collective       Stipulated   Stipulated
             Bargaining
 4           Agreement
 5   534     OPM Appropriated      Stipulated   Stipulated      Yes, if proper
 6           Fund Operating                                     foundation has been
             Manual                                             laid.
 7
     535     Shop 17 Interview     Stipulated   Stipulated      If the government
 8           Guides                                             lays a foundation
                                                                that these were the
 9                                                              questions used in
10                                                              the 2019 interviews

11   545     Shop 17 Overtime      Stipulated   Disputed        Irrelevant (FRE
             Data                                               402)
12
     546     Shop 31 Interview     Stipulated   Stipulated      If the government
13           Guides                                             lays a foundation
                                                                that these were the
14
                                                                questions used in
15                                                              the 2019 interviews

16   547     Shop 31 Overtime      Stipulated   Disputed        Irrelevant (FRE
             Data                                               402)
17
     548     Apprenticeship Wage   Stipulated   Disputed        X Hearsay FRE
18           Rates (West                                        802, requires expert
19           Summary)                                           explanation FRE
                                                                702, to the extent
20                                                              intended as
                                                                summary, not a
21                                                              mere summary of
                                                                information in
22                                                              records, and timing
23                                                              of prod. is
                                                                inadequate under
24                                                              FRE 1006.

25   549     Journeyman Wage       Stipulated   Disputed        X Hearsay FRE
             Rates (West                                        802, requires expert
26           Summary)                                           explanation FRE
27                                                              702, to the extent
                                                                intended as

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 1
     EX.           Description       Authenticity Admissibility        Objection           Admitted
 2   NO.
                                                                  summary, not a
 3
                                                                  mere summary of
 4                                                                information in
                                                                  records, and timing
 5                                                                of prod. is
                                                                  inadequate under
 6                                                                FRE 1006.
 7
     550     Gnassi Actual Basic     Stipulated   Disputed        X Hearsay FRE
 8           Pay (West Summary)                                   802, requires expert
                                                                  explanation FRE
 9                                                                702, to the extent
                                                                  intended as
10                                                                summary, not a
                                                                  mere summary of
11
                                                                  information in
12                                                                records, and timing
                                                                  of prod. is
13                                                                inadequate under
                                                                  FRE 1006.
14
     551     Gnassi Step Increases   Stipulated   Disputed        X Hearsay FRE
15
             (West Summary)                                       802, requires expert
16                                                                explanation FRE
                                                                  702, to the extent
17                                                                intended as
                                                                  summary, not a
18                                                                mere summary of
                                                                  information in
19
                                                                  records, and timing
20                                                                of prod. is
                                                                  inadequate under
21                                                                FRE 1006.
22   552     Employer Paid           Stipulated   Disputed        X Hearsay FRE
             Retirement Benefit                                   802, requires expert
23
             (West Summary)                                       explanation FRE
24                                                                702, to the extent
                                                                  intended as
25                                                                summary, not a
                                                                  mere summary of
26                                                                information in
                                                                  records, and timing
27
                                                                  of prod. is

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 1
     EX.           Description     Authenticity Admissibility        Objection           Admitted
 2   NO.
                                                                inadequate under
 3
                                                                FRE 1006.
 4
     553     Apprentice Overtime   Stipulated   Disputed        X Hearsay FRE
 5           & Shift Hours (West                                802, requires expert
             Summary)                                           explanation FRE
 6                                                              702, to the extent
                                                                intended as
 7
                                                                summary, not a
 8                                                              mere summary of
                                                                information in
 9                                                              records, and timing
                                                                of prod. is
10                                                              inadequate under
                                                                FRE 1006.
11

12   554     Journeyman Overtime   Stipulated   Disputed        X Hearsay FRE
             & Shift Hours (West                                802, requires expert
13           Summary)                                           explanation FRE
                                                                702, to the extent
14                                                              intended as
                                                                summary, not a
15
                                                                mere summary of
16                                                              information in
                                                                records, and timing
17                                                              of prod. is
                                                                inadequate under
18                                                              FRE 1006.
19
     555     Job fair postings     Stipulated   Stipulated
20
     556     Ferguson email        Stipulated   Stipulated
21
     557     Richardson email      Stipulated   Stipulated
22
     558     Richardson email      Stipulated   Stipulated
23
     559     Shop 31 employee      Stipulated   Stipulated
24           age data
25

26
27

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 1           The parties reserve any right to introduce any documents exchanged during discovery,

 2   any demonstrative and illustrative exhibit, any exhibit for impeachment purposes, or any rebuttal

 3   exhibit based on how the progress of the trial, subject to the Court’s allowance.

 4           The parties reserve any right to make changes to this pretrial statement before the final

 5   agreed pretrial order is entered.

 6                                         IX. TRIAL LOGISTICS
 7           A. Witness Order and Protocol

 8           Defendant’s Statement

 9           The parties met and conferred regarding witness order but have not been able to reach an

10   agreement. Other than Mr. Gnassi and his expert, Plaintiff’s will-testify witnesses are Puget

11   Sound Navy Shipyard employees, most (if not all) of whom Defendant also intends to call in its

12   case-in-chief. Plaintiff wants to call these witnesses, subject them first to cross-examination as

13   part of his case-in-chief, and let Defendant recall them during its case. This is inefficient for the

14   Court and the witnesses.

15           Because this is a bench trial, and the Court is very familiar with trial procedures and

16   evidentiary burdens, Defendant proposes that the witnesses be called in a conventional manner,

17   as follows: it will call any Navy employee that Plaintiff wishes to have in its case-in-chief,

18   Defendant will direct that witness, and Plaintiff will have an opportunity to cross-examine that

19   witness (and not be limited by Defendant’s direct), with any necessary reexaminations to follow.

20   Defendant would stipulate that any such cross-examinations would be considered as part of

21   Plaintiff’s case-in-chief.

22           This would allow for a more orderly and clear presentation of the evidence for the Court.

23   Further, it would not subject numerous fact witnesses, who live and work in Bremerton, to

24   making multiple trips to the courthouse or waste valuable Court time.

25           Plaintiff’s Response

26           Defense counsel added this section to the Proposed Pretrial Order on the afternoon that it

27   is due. This section is not provided for by Local Court Rule 16.1, so Plaintiff objects to

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 1   Defendant’s use of this joint filing to present argument to the court about reversing the structure

 2   of the trial so that the defense gets to present its case first. Unsurprisingly, the defense has not

 3   cited any authority for its novel approach.

 4           B. Trial Length

 5           Defendant’s Statement

 6           Defendant believes the trial should take no more than five court days, with closing

 7   arguments to be heard Monday morning, October 31, or as is convenient for the Court.

 8           Plaintiff’s Response

 9           Defense counsel added this section to the Proposed Pretrial Order on the afternoon that it

10   is due. This section is not provided for by Local Court Rule 16.1, so Plaintiff objects to use of

11   this joint filing for this purpose. Plaintiff believes that the trial will be shorter than originally

12   estimated because of the court’s granting of partial summary judgment, but has not yet mapped

13   out the likely length. Plaintiff will be prepared for such a discussion on this topic at the pretrial

14   conference.

15           C. Witness Availability

16           Defendant’s Statement

17           As the parties have discussed, some of the Defendant’s witnesses have limited

18   availability. As such, Defendant requests that it can call certain witnesses out of order, if

19   necessary, including:

20               •   that it can call Mark Candaso at the beginning of the day for whatever day he is to

21                   testify because he works a graveyard shift and will be coming from his shift to the

22                   Court;

23               •   that it can call Mr. McGloin on either October 24 or October 25, 2022, because he

24                   has prearranged leave that starts on October 26, 2022; and

25               •   that it can call Ms. Hoff on either October 24-26, 2022, because she has pre-

26                   scheduled professional commitments starting at 10:00 a.m. on October 27 and

27                   October 28, 2022.

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 1          Plaintiff’s Response

 2          Coordinating witness schedules is ordinarily worked out between counsel. Defense

 3   counsel added this section to the Proposed Pretrial Order on the afternoon that it is due and this

 4   section is not provided for by Local Court Rule 16.1, so Plaintiff objects to use of this joint filing

 5   for this purpose. At Defense counsel’s request, Plaintiff’s counsel had agreed to try to

 6   accommodate their witnesses’ scheduling needs as reasonably possible, including Mr. Candaso’s

 7   shift, but rather than make specific requests to Plaintiff’s counsel to be worked out cooperatively,

 8   the defense raised its scheduling requests here for the first time. Plaintiff will of course attempt

 9   to accommodate government witnesses’ schedules, where practical. Plaintiff’s counsel will

10   communicate directly with defense counsel about these issues after having developed their

11   witness schedule, taking into account these witnesses’ stated availability.

12          D. In-person trial

13          The parties agree that there are no safety or health concerns, from their perspective, with

14   having the trial be in person. The parties will abide by whatever protocols the Court requires

15   related to COVID-19, including wearing masks while not addressing the Court.

16                                      ACTION BY THE COURT

17          (a) This case is scheduled for trial without a jury on October 24, 2022, at 1:30 pm.

18          (b) Trial briefs shall be submitted to the court on or before October 17, 2022.

19          (c) This order has been approved by the parties as evidenced by the signatures of their

20   counsel. This order shall control the subsequent course of the action unless modified by a

21   subsequent order. This order shall not be amended except by order of the Court pursuant to

22   agreement of the parties or to prevent manifest injustice.

23
            DATED this _6th_ day of October, 2022.
24

25          ________________________________________
26          United States District Judge John H. Chun

27

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 1          FORM APPROVED:

 2
            Dated this 3rd day of October, 2022.
 3
                                                   MacDONALD HOAGUE & BAYLESS
 4

 5
                                                   By:     s/ Jesse Wing
 6                                                       Jesse Wing, WSBA #27751
                                                         JesseW@MHB.com
 7
                                                         Attorney for Plaintiff
 8

 9                                                 —and—
10                                                 NICHOLAS W. BROWN
11                                                 UNITED STATES ATTORNEY

12                                                 By:     s/ Annalisa L. Cravens
                                                   Annalisa L. Cravens, TX Bar No. 24092298
13                                                 Assistant United States Attorney
                                                   United States Attorney’s Office
14                                                 700 Stewart Street, Suite 5220
                                                   Seattle, Washington 98101
15                                                 Tel: 206-553-7970
16                                                 Direct: 206-553-2257
                                                   Email: annalisa.cravens@usdoj.gov
17
                                                   By:     s/ Nickolas Bohl
18                                                 Nickolas Bohl, WSBA #48978
                                                   Assistant United States Attorney
19                                                 United States Attorney’s Office
                                                   700 Stewart Street, Suite 5220
20                                                 Seattle, Washington 98101
21                                                 Tel: 206-553-7970
                                                   Direct: 206-553-4639
22                                                 Email: nickolas.bohl@usdoj.gov

23                                                 Attorneys for Defendant
24

25

26
27

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